                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 1 of 18 Page ID #:3392




                                           1 ERIC BALL (CSB No. 241327)
                                             eball@fenwick.com
                                           2 KIMBERLY CULP (CSB No. 238839)
                                             kculp@fenwick.com
                                           3 FENWICK & WEST LLP
                                             801 California Street
                                           4 Mountain View, CA 94041
                                           5 Telephone:  650.988.8500
                                             Facsimile: 650.938.5200
                                           6
                                               ANTHONY M. FARES (CSB No. 318065)
                                           7   afares@fenwick.com
                                               ETHAN M. THOMAS (CSB No. 338062)
                                           8   ethomas@fenwick.com
                                               FENWICK & WEST LLP
                                           9   555 California Street, 12th Floor
                                               San Francisco, CA 94104
                                          10   Telephone: 415.875.2300
                                          11 Additional Counsel listed on next page
                                          12
                                             Attorneys for Plaintiff and
F ENWICK & W EST LLP




                                          13 Counterclaim Defendant
                       ATTORNEYS AT LAW




                                             YUGA LABS, INC.
                                          14
                                          15                               UNITED STATES DISTRICT COURT
                                          16                             CENTRAL DISTRICT OF CALIFORNIA
                                          17                                WESTERN DIVISION – Los Angeles
                                          18
                                          19 YUGA LABS, INC.,                                Case No.: 2:22-cv-04355-JFW-JEM
                                          20                      Plaintiff and              PLAINTIFF YUGA LABS, INC.’S
                                                                  Counterclaim Defendant,    REPLY MEMORANDUM IN
                                          21                                                 SUPPORT OF YUGA LABS, INC.’S
                                                      v.                                     SPECIAL MOTION TO STRIKE
                                          22                                                 COUNTERCLAIMS; PLAINTIFF
                                          23 RYDER RIPPS, JEREMY CAHEN,                      YUGA LABS, INC.’S MOTION TO
                                                                                             DISMISS COUNTERCLAIMS
                                          24             Defendants and
                                                         Counterclaim Plaintiffs.            Date:        February 27, 2023
                                          25                                                 Time:        1:30 p.m.
                                                                                             Courtroom:   7A
                                          26                                                 Judge:       Honorable John F. Walter
                                          27
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS
                                                                                                            Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 2 of 18 Page ID #:3393




                                           1 MELISSA L. LAWTON (CSB No. 225452)
                                             mlawton@fenwick.com
                                           2 FENWICK & WEST LLP
                                             228 Santa Monica Boulevard
                                           3 Santa Monica, CA 90401
                                             Telephone: 310.434.4300
                                           4
                                           5 DAVID   Y. SILLERS (admitted pro hac vice)
                                             david@clarelocke.com
                                           6 KATHRYN HUMPHREY (admitted pro hac vice)
                                             kathryn@clarelocke.com
                                           7 MEGAN L. MEIER (admitted pro hac vice)
                                             megan@clarelocke.com
                                           8 CLARE LOCKE LLP
                                             10 Prince Street
                                           9 Alexandria, VA 22314
                                             Telephone: 202.628.7400
                                          10
                                             Attorneys for Plaintiff and
                                          11 Counterclaim Defendant
                                          12 YUGA LABS, INC.
F ENWICK & W EST LLP




                                          13
                       ATTORNEYS AT LAW




                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS
                                                                                                 Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 3 of 18 Page ID #:3394




                                          1                                            TABLE OF CONTENTS
                                          2                                                                                                                      Page
                                          3 I.         INTRODUCTION .............................................................................................. 1
                                          4 II.        ARGUMENT ...................................................................................................... 1
                                          5            A.       The Anti-SLAPP Statute Applies to Counts 4-6, and the Court
                                                                Should Order a Fee Award for Yuga Labs as Prevailing Party. .............. 1
                                          6
                                                       B.       Defendants Fail to Plead Extreme and Outrageous Conduct. .................. 3
                                          7
                                                       C.       Defendants Fail to Plead Sufficient Emotional Distress. ......................... 5
                                          8
                                          9            D.       Defendants Fail to Show Duty of Care as Required for Count 5. ............ 6

                                          10           E.       Defendants Fail To Prove Standing For Their 512(f) Claim ................... 7

                                          11           F.       Defendants Admit They Only Pled One DMCA Takedown With
                                                                Particularity And Could Not Plead Any Other ........................................ 8
                                          12
                                                       G.       Defendants Concede Yuga Labs Had a Good Faith Belief That
F ENWICK & W EST LLP




                                          13                    Their Use Of Yuga Labs’ Logo Infringed Yuga Labs’ Copyright .......... 9
                       ATTORNEYS AT LAW




                                          14           H.       Defendants Admit They Seek An Advisory Opinion On Whether
                                                                Yuga Labs Owns Any Copyrights, Which Article III Prohibits ............ 10
                                          15
                                                       I.       Defendants Have Not Moved for an Untimely Amendment. ................ 11
                                          16
                                                       J.       Yuga Labs’ Motion Was Timely Filed .................................................. 11
                                          17
                                               III.    CONCLUSION ................................................................................................. 12
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS                 i                        Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 4 of 18 Page ID #:3395




                                           1                                        TABLE OF AUTHORITIES
                                           2                                                                                                            Page(s)
                                           3 CASES
                                           4 Alvarez v. Bayer US, Inc.,
                                                No. CV 21-5416, 2021 WL 8742153 (C.D. Cal. Dec. 15, 2021) ............................ 8
                                           5
                                           6 Beckham   v. Safeco Ins. Co. of Am.,
                                                691 F.2d 898 (9th Cir. 1982) ................................................................................... 6
                                           7
                                             Cabral v. Ralphs Grocery Co.,
                                           8    248 P.3d 1170 (Cal. 2011) ....................................................................................... 6
                                           9 Cal. Furniture Collection, Inc. v. Harris Adamson Home, LLC,
                                               No. 19-cv-006254, 2019 WL 7882081 (C.D. Cal. Oct. 18, 2019) ........................ 10
                                          10
                                             Cochran v. Cochran,
                                          11   65 Cal. App. 4th 488 (1998) ................................................................................ 3, 4
                                          12 Coltrain v. Shewalter,
F ENWICK & W EST LLP




                                                66 Cal. App. 4th 94 (1998) ...................................................................................... 2
                                          13
                       ATTORNEYS AT LAW




                                             Fletcher v. Western Nat’l Life Ins. Co.,
                                          14    10 Cal. App. 3d 376 (1970) ..................................................................................... 5
                                          15 Flores v. Popova,
                                          16    No. CV 19-1379, 2019 WL 4238886 (C.D. Cal. Aug. 7, 2019).............................. 8

                                          17 Gu v. BMW of N. Am., LLC,
                                                132 Cal. App. 4th 195 (2005) .................................................................................. 6
                                          18
                                             Hillblom v. Cnty. of Fresno,
                                          19    539 F. Supp. 2d 1192 (E.D. Cal. 2008) ................................................................... 7
                                          20 In re Yahoo! Litig.,
                                                 251 F.R.D. 459 (C.D. Cal. 2008) ........................................................................... 12
                                          21
                                             Ismail v. Montchak,
                                          22     No. B284163, 2019 WL 2949863 (Cal. Ct. App. July 8, 2019) .............................. 5
                                          23 Lenz v. Universal Music Corp.,
                                                815 F.3d 1145 (9th Cir. 2016) ................................................................................. 8
                                          24
                                          25 MGA   Ent., Inc. v. Louis Vuitton Malletier, S.A.,
                                                No. 2:18-CV-10758, 2019 WL 2109643 (C.D. Cal. May 14, 2019)..................... 10
                                          26
                                             Pistor v. Garcia,
                                          27    791 F.3d 1104 (9th Cir. 2015) ................................................................................. 8
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS               ii                      Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 5 of 18 Page ID #:3396




                                           1                                         TABLE OF AUTHORITIES
                                                                                           (Continued)
                                           2
                                                                                                                                                            Page(s)
                                           3
                                             Potter v. Firestone Tire & Rubber Co.,
                                           4    6 Cal. 4th 965 (1993) ............................................................................................... 6
                                           5 Robins v. Spokeo, Inc.,
                                                867 F.3d 1108 (9th Cir. 2017) ................................................................................. 8
                                           6
                                             Siam v. Kizilbash,
                                           7    130 Cal. App. 4th 1563 (2005) ................................................................................ 6
                                           8 Sky Billiards, Inc. v. WolVol, Inc,
                                           9    No. 5:15-cv-02182, 2016 WL 7479428 (C.D. Cal. July 11, 2016) ....................... 10

                                          10 Spokeo, Inc. v. Robins,
                                                 578 U.S. 330 (2016), as revised (May 24, 2016) .................................................... 8
                                          11
                                             St. Clair v. City of Chico,
                                          12     880 F.2d 199 (9th Cir. 1989) ................................................................................... 7
F ENWICK & W EST LLP




                                          13 Starbucks Corp. v. Heller,
                       ATTORNEYS AT LAW




                                                No. CV 14-01383, 2014 WL 6685662 (C.D. Cal. Nov. 26, 2014).......................... 9
                                          14
                                             Vigil v. Walt Disney Co.,
                                          15    Nos. C-95-1790, C-95-1277, 1995 WL 621832 (N.D. Cal. Oct. 16, 1995) ............ 9
                                          16 Winebarger v. Pennsylvania Higher Educ. Assistance Agency,
                                               411 F. Supp. 3d 1070 (C.D. Cal. 2019) (Walter, J.) ................................................ 7
                                          17
                                          18 Yuga Labs, Inc. v. Thomas Lehman,
                                               1:23-cv-00085-MAD-TWD (N.D.N.Y. Feb. 6, 2022) (ECF 12) .......................... 11
                                          19
                                          20 STATUTES AND RULES
                                          21 California Civil Code § 1714(a).................................................................................... 6
                                          22 California Code of Civil Procedure § 527.6 ................................................................. 6
                                          23 California Penal Code § 646.9 ...................................................................................... 6
                                          24 Federal Rule of Civil Procedure 6(a)(1) ..................................................................... 12
                                          25
                                                Federal Rule of Civil Procedure 8................................................................................. 8
                                          26
                                                Federal Rule of Civil Procedure 9(b) ........................................................................ 8, 9
                                          27
                                                Federal Rule of Civil Procedure 12............................................................................... 1
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS                iii                      Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 6 of 18 Page ID #:3397




                                           1                                            TABLE OF AUTHORITIES
                                                                                              (Continued)
                                           2
                                                                                                                                                                 Page(s)
                                           3
                                           4 Federal Rule of Civil Procedure 12(b)(1) ........................................................... 8, 9, 12
                                           5 Federal Rule of Civil Procedure 12(b)(6) ............................................................... 9, 12
                                           6 Federal Rule of Civil Procedure 12(h) ........................................................................ 12
                                           7 Federal Rule of Civil Procedure 15............................................................................... 9
                                           8 Lanham Act ................................................................................................................. 10
                                           9 Local Rule 6-1 ............................................................................................................. 12
                                          10 Local Rule 7-3 ............................................................................................................... 9
                                          11 Local Rule 7-9 ............................................................................................................... 9
                                          12
F ENWICK & W EST LLP




                                          13
                       ATTORNEYS AT LAW




                                          14
                                          15
                                          16
                                          17
                                          18
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS                    iv                        Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 7 of 18 Page ID #:3398




                                           1 I.        INTRODUCTION
                                           2           In retaliation for Yuga Labs publicly defending itself against baseless attacks on

                                           3 it and its founders, and for bringing this lawsuit to protect its intellectual property,
                                           4 Defendants filed a slew of meritless counterclaims, which is exactly the kind of
                                           5 litigation tactic that California’s anti-SLAPP statute prohibits and disincentivizes with
                                           6 mandatory attorneys’ fees. The Court should strike each state-law claim, award Yuga
                                           7 Labs attorneys’ fees, and dismiss the federal-law claims.
                                           8       Count 6, which Defendants withdrew, was for a non-existent claim of “No

                                           9 Defamation.” From the outset, Yuga Labs explained to Defendants’ counsel that “there
                                          10 is no claim for declaratory relief of non-defamation.” Supplemental Declaration of Eric
                                          11 Ball (“Supp. Ball Decl.”) ¶ 3, Ex. 1. Defendants have made no attempt to provide
                                          12 authority that they had a good-faith basis for filing it, and by withdrawing it have
F ENWICK & W EST LLP




                                          13 conceded that Yuga Labs prevailed on its anti-SLAPP motion.
                       ATTORNEYS AT LAW




                                          14      In attempting to salvage their remaining Counterclaims, Defendants

                                          15 mischaracterize and deflect from Yuga Labs’ arguments. They address only one prong
                                          16 of the anti-SLAPP statute, where Yuga Labs relies on three. They repeatedly fail to
                                          17 distinguish Yuga Labs’ legal authority. They ignore the dozens of tweets showing that
                                          18 they are enjoying the controversy and public “tweet war.” They present no evidence to
                                          19 establish subject matter jurisdiction as to Counts 1, 2, and 3 and necessarily fail to meet
                                          20 their burden. And they continue to pursue an advisory opinion on copyright issues they
                                          21 admit cannot presently be filed. These claims must be stricken under California’s anti-
                                          22 SLAPP statute or dismissed under Rule 12.
                                          23           Yuga Labs is entitled to recover its reasonable attorneys’ fees for this Motion and

                                          24 to proceed with its trademark lawsuit unimpeded by a sideshow of bogus claims.
                                          25 II.       ARGUMENT
                                          26           A.      The Anti-SLAPP Statute Applies to Counts 4-6, and the Court
                                                               Should Order a Fee Award for Yuga Labs as Prevailing Party.
                                          27
                                                       In seeking to avoid the anti-SLAPP statute’s mandatory fee-shifting provision,
                                          28

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   1                Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 8 of 18 Page ID #:3399




                                           1 Defendants advance an argument riddled with several fatal flaws.
                                           2           The first fatal flaw is that Defendants pretend that Yuga Labs solely relies on the
                                           3 anti-SLAPP statute’s protection of speech related to litigation (which they refer to as
                                           4 the “litigation privilege”), whereas in actuality, Yuga Labs relies on the statute’s
                                           5 protection of litigation-related speech and public statements. ECF 89 (“Mot.”) at 3
                                           6 (challenged conduct “falls squarely within the anti-SLAPP’s statute protection for
                                           7 litigation-related activities, speech made ‘in a public forum in connection with an
                                           8 issue of public interest’ and ‘any other conduct ... made in connection with a public
                                           9 issue or an issue of public interest.”) (emphasis added). In fact, most of the challenged
                                          10 conduct is protected public speech rather than litigation-related speech. Mot. 3-4; ECF
                                          11 96 (“Opp.”) at 21-23. Yuga Labs was crystal clear on this (Mot. 3-4), and Defendants
                                                                  1


                                          12 simply ignore it. The “principal thrust or gravamen” of the relevant Counterclaims
                                                              2
F ENWICK & W EST LLP




                                          13 challenge protected activity. Id.
                       ATTORNEYS AT LAW




                                          14           The second fatal flaw in Defendants’ anti-SLAPP response is their implied
                                          15 position that they can avoid an award of attorneys’ fees by belatedly withdrawing their
                                          16 “Declaration of No Defamation” Counterclaim (Count 6). That is not how it works—
                                          17 the Motion cited multiple federal courts applying the anti-SLAPP statute to a
                                          18 declaratory judgment involving an issue of state law. Mot. at 13-14. Defendants do not
                                          19 rebut those authorities, which carry the issue. Furthermore, Defendants cannot avoid
                                          20 anti-SLAPP attorneys’ fees by withdrawing their claim right before an adverse
                                          21 decision—Yuga Labs is entitled to mandatory fees as the prevailing party where the
                                          22 outcome of the motion is to meaningfully narrow the issues in the case. Coltrain v.
                                          23 Shewalter, 66 Cal. App. 4th 94, 107-108 (1998).
                                          24
                                               The litigation anti-SLAPP portion applies to filing the Complaint (which Defendants
                                               1
                                          25 argue was itself tortious) and the takedowns. The public interest/public statement
                                             portions of the anti-SLAPP statute apply to Yuga Labs’ media outreach, its highly-
                                          26 viewed interviews about Defendants on YouTube, and the various portions alleging
                                             so-called campaign of “Public Lies” (Opp. at 4, Countercl. ¶ 63).
                                          27 2 Similarly, a belated request to amend to add boilerplate disclaimers that the claims
                                             are “not based on communications or speech made in course of this legal proceeding”
                                          28 (Opp. at 23) misses the point for the same reason.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   2                Case No. 2:22-cv-04355-JFW-JEM
                                    Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 9 of 18 Page ID #:3400




                                           1           This claim was frivolous from inception. While Defendants claim that there is a
                                           2 “split in authority” regarding whether the “declaratory judgment of no defamation”
                                           3 cause of action even exists, they are unable to identify a single case in their favor;
                                           4 indeed, the case they cite does not even contain the word “defamation.” Opp. at 21.
                                           5 Likewise, Yuga Labs has been unable to identify a single case in which this theory
                                           6 survived a motion to dismiss. Yuga Labs warned Defendants of this, twice, yet they
                                           7 forced Yuga Labs to fully brief the issue, incurring substantial attorneys’ fees. ECF 78;
                                           8 Supp. Ball Decl. ¶ 3, Ex. 1. Defendants only withdrew the claim after failing to
                                           9 persuade Judge McDermott that “discovery [] would show no defamation based on the
                                          10 affirmative defense of truth.” ECF 80 at 4. The anti-SLAPP statute applies to Counts
                                          11 4-6 and the Court should strike them and award attorneys’ fees.
                                          12           B.      Defendants Fail to Plead Extreme and Outrageous Conduct.
F ENWICK & W EST LLP




                                          13           Equally flawed is Defendants’ paltry justification for their inability to plead
                       ATTORNEYS AT LAW




                                          14 “extreme and outrageous” conduct to support their emotional distress counterclaims.
                                          15 Opp. at 16. Yuga Labs cited eight analogous cases in which behavior equaling or worse
                                          16 than what Defendants alleged was held to not be actionable as a matter of law, yet
                                          17 Defendants have not attempted to respond to or distinguish even one of them. Mot.
                                          18 at 5-7; Opp. at 16-18.
                                          19           Cochran v. Cochran is nearly identical to this case. 65 Cal. App. 4th 488 (1998).
                                          20 There, as here, the parties had been engaged in a bitter and public dispute, including
                                          21 prior litigation, and the most heavily scrutinized incident was a telephone
                                          22 communication the defendant intended to be taken as a death threat and which the
                                          23 plaintiff interpreted as a death threat. There, as here, plaintiff pointed to Kiseskey v.
                                                                                     3


                                          24 Carpenter’s Trust to argue that a statement interpreted by plaintiff as a death threat was
                                          25 actionable. Id. at 497. But Kiseskey involved a concerted campaign of credible threats
                                          26 of violence against plaintiff’s family by those described by Cochran as “union goons,”
                                          27
                                               Other statements were also strikingly similar to what Defendants complain of here,
                                               3
                                          28 including “You know how powerful I am” and “you’ll be sorry.” Id. at 495.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   3               Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 10 of 18 Page ID #:3401




                                           1 resulting in plaintiff suffering a heart attack. Id. at 498. In Cochran—as should be the
                                           2 case here—the court sharply distinguished actionable death threats from someone
                                           3 blowing off “relatively harmless steam,” observing that “feuds are often accompanied
                                           4 by an exchange of hostile unpleasantries which are intended to sting whoever sits at the
                                           5 delivery end[,]” but which are not actionable because such claims would “needlessly
                                           6 congest our courts with trials for hurts both real and imagined which are best resolved
                                           7 elsewhere.” Id. As stated aptly by Cochran, the alleged “threat” was “little more than
                                           8 the release of steam from the pressure cooker of the parties’ ill will” that were
                                           9 fundamentally different from those in Kisekey. Id. (emphasis added). Similarly, here,
                                          10 the alleged “threat” attributed to Noah Davis was nothing more than “relatively
                                          11 harmless steam” being blown off in response to public feuding and legal action.
                                          12 Moreover, there is uncontroverted evidence that the supposed victim did not take the
F ENWICK & W EST LLP




                                          13 exchange seriously; Ripps’s father—within five days of the so-called “death threat”—
                       ATTORNEYS AT LAW




                                          14 tweeted “Nice” to Cahen’s resumption of public harassment of Davis and his deceased
                                          15 father. Mot. at 10-11. That behavior is inconsistent with a credible threat, actual fear,
                                          16 or an actionable tort, and shows just how flimsy Defendants’ position is. Id.
                                          17            And while the parties agree that the Court must evaluate all the complained-of
                                          18 acts as a whole, Defendants omit that the behavior must be viewed through the “prism
                                          19 of the appraiser’s values, sensitivity threshold, and standards of civility.” Cochran, 65
                                          20 Cal. App. 4th at 494 (citations omitted). The many examples of Defendants’ instigation
                                          21 of and ongoing engagement in public Twitter attacks on Yuga Labs must be considered
                                          22 in judging whether Yuga Labs’ attempts to defend itself against those sustained attacks
                                          23 were “extreme and outrageous.” In this context, the acts complained of do not even
                                          24 approach actionable conduct. See Mot. at 5.
                                          25            Finally, Defendants entirely ignore another dispositive reason why the alleged
                                          26 call to Ripps’s father is not actionable; the alleged call was not made to Defendants or
                                          27 in their presence, which dooms the claim as a matter of law. Id. at 6-7.
                                                                                                                      4


                                          28   4
                                                   The alleged call to Cahen’s sister is not even alleged to have been threatening.
                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   4                 Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 11 of 18 Page ID #:3402




                                           1           In sum, Defendants have failed to plausibly allege extreme and outrageous
                                           2 conduct, and the Court should strike Counts 4 and 5 under the anti-SLAPP statute.
                                           3           C.      Defendants Fail to Plead Sufficient Emotional Distress.
                                           4           Defendants’ failure to plead severe emotional distress is also independently fatal
                                           5 to Counts 4 and 5. As shown in the Motion, Defendants are profiting from their attack
                                           6 campaign. In response, Defendants attempt to lower the relevant standard to include
                                                      5


                                           7 “any highly unpleasant mental reaction.” Opp. at 18. But, once again, Defendants fail
                                           8 to confront a single one of the cases cited by the Motion establishing that they must
                                           9 suffer distress “of such substantial quality or enduring quality that no reasonable
                                          10 [person] in civilized society should be expected to endure it” and that nearly identical
                                          11 allegations have been held to be non-actionable, “garden variety” distress and
                                          12 insufficient as a matter of law. Mot. at 7-8.
F ENWICK & W EST LLP




                                          13           Defendants’ cited cases do not counsel otherwise. One of the two cases that
                       ATTORNEYS AT LAW




                                          14 Defendants cite is unpublished/non-citable under California law. Ismail v. Montchak,
                                          15 No. B284163, 2019 WL 2949863, at *6 (Cal. Ct. App. July 8, 2019). The other,
                                          16 Fletcher v. Western Nat’l Life Ins. Co., is factually distinguishable where an insurance
                                          17 company denied a laborer’s claim for disability compensation and does not establish a
                                          18 lower standard. 10 Cal. App. 3d 376, 386-94 (1970). The plaintiff had a fourth-grade
                                          19 education and the appeals court only needed to hold that there was sufficient evidence
                                          20 to sustain the award issued by the jury. Id. at 397-98.
                                          21           Defendants have similarly failed to explain away any of the many tweets (cited
                                          22 in the Motion) in which they mercilessly mock Yuga Labs, call the dispute “hysterical,”
                                          23 “silly,” and “too funny and stupid” and which show that Defendants are not emotionally
                                          24 distressed but rather relish the fight they started. Mot. at 9-10. Tellingly, Defendants
                                          25 did not designate a single expert establishing the severity of Defendants’ alleged harm
                                          26
                                              Since the filing of this Motion, one of Defendants’ former colleagues has made sworn
                                               5
                                          27 statements in support of the money-making nature of the RR/BAYC NFT scheme and
                                             detailed the substantial wrongful gains associated with it. See Supp. Ball. Decl. ¶ 4,
                                          28 Ex. 2 at ¶¶ 2-4, 9-13, 18-28.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   5                Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 12 of 18 Page ID #:3403




                                           1 and they have not claimed (including in their proposed amended counterclaims) that
                                           2 they have visited a doctor or therapist because of the supposed “emotional distress” they
                                           3 claim to be suffering. Supp. Ball Decl. ¶ 5.
                                           4           D.      Defendants Fail to Show Duty of Care as Required for Count 5.
                                           5           In the Motion, Yuga Labs established that a separate reason Defendants cannot
                                           6 state an NIED claim as a matter of law is because they have failed to plead Yuga Labs
                                           7 owes them a special duty. Mot. at 4-5. In response, Defendants now allege Yuga Labs
                                           8 owes them a duty pursuant to three California Code Sections, none of which are
                                           9 mentioned in the Counterclaim. Opp. at 20-21. While the Court need not reach this
                                          10 ground, the argument fails for several reasons.
                                          11           First, Defendants cite statutes that do not involve negligence; they involve
                                          12 willful and intentional conduct, making them entirely duplicative of the IIED claim
F ENWICK & W EST LLP




                                          13 and inapplicable to a negligence cause of action. Siam v. Kizilbash, 130 Cal. App. 4th
                       ATTORNEYS AT LAW




                                          14 1563, 1579 (2005). Second, the cited statutes cannot be vindicated through an NIED
                                          15 claim; instead, they provide their own statutory penalties and/or remedies.            See
                                          16 Beckham v. Safeco Ins. Co. of Am., 691 F.2d 898, 904 (9th Cir. 1982). It is telling that
                                          17 Defendants cannot point to any authority where a court imposed a special duty for a
                                          18 NIED claim based on these statutes; courts do not do so. Finally, the specific statutes
                                          19 are incompatible with serving as a hook for an NIED claim. Defendants cite Cabral
                                          20 v. Ralphs Grocery Co., 248 P.3d 1170, 1172 (Cal. 2011) (which does not consider an
                                          21 NIED claim) and California Civil Code § 1714(a) for a “general duty of care” even
                                          22 though California courts have repeatedly held that “there is no duty to avoid
                                          23 negligently causing emotional distress to another.” Gu v. BMW of N. Am., LLC, 132
                                          24 Cal. App. 4th 195, 204 (2005) (holding no duty owed under § 1714(a) for NIED); see
                                          25 also Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 984 (1993). California
                                          26 Code of Civil Procedure § 527.6 allows a litigant to apply for a temporary restraining
                                          27 order to stop harassment; it does not create a claim for money damages via NIED.
                                          28 California Penal Code § 646.9 is the criminal prohibition on stalking and has never

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   6             Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 13 of 18 Page ID #:3404




                                           1 been applied to an NIED claim. Defendants also cannot use a criminal statute to invent
                                           2 a private right of action. See Hillblom v. Cnty. of Fresno, 539 F. Supp. 2d 1192, 1212
                                           3 (E.D. Cal. 2008).
                                           4           Because Defendants have no plausible argument that Yuga Labs owed them a
                                           5 special duty of care or negligently breached the same, and severe emotional distress has
                                           6 not been properly pleaded, Counts 4 and 5 must be stricken or dismissed.
                                           7           E.      Defendants Fail To Prove Standing For Their 512(f) Claim
                                           8           Defendants do not dispute that they “bear[] the burden of demonstrating that the
                                           9 Court has subject matter jurisdiction to hear the action.” Winebarger v. Pennsylvania
                                          10 Higher Educ. Assistance Agency, 411 F. Supp. 3d 1070, 1081 (C.D. Cal. 2019)
                                          11 (Walter, J.). To overcome Yuga Labs’ factual challenge, Defendants were required to
                                          12 “present affidavits or other evidence necessary to satisfy [their] burden of establishing
F ENWICK & W EST LLP




                                          13 subject matter jurisdiction.” St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.
                       ATTORNEYS AT LAW




                                          14 1989); Mot. at 19. They did not. Instead, their argument is bereft of any evidence that
                                          15 they expended time or money. Their decision not to put those statements under penalty
                                          16 of perjury is telling, and dispositive.
                                          17           The unrebutted evidence proves that as to the Foundation Takedown 6,
                                          18 “Defendants used it to market their counterfeit NFTs and further engage with their
                                          19 followers,” and touted it as the “best thing that could have happened.” Mot. at 20.
                                          20 Defendants’ contemporaneous concession that the Foundation Takedown was helpful
                                                                                                                7


                                          21 for increasing sales of RR/BAYC NFTs is established by unrebutted evidence.
                                          22 Defendants offer no evidence that the de minimis time off the market on May 17, 2022
                                          23 harmed their RR/BAYC NFT sales. Nor can they. Id.
                                                                                               8


                                          24   6
                                                 The Court may take judicial notice of the “Foundation Takedown.” ECF 89-1, 89-5,
                                               89-6, and 89-7. Defendants do not dispute this.
                                          25   7
                                                 Foundation is the only platform Defendants identify that removed content in response
                                          26   to a takedown. Countercl. ¶ 62; see also Ball Decl. ¶ 6, Ex. 3 at ¶¶ 65-69.
                                               8
                                                 Defendants did not disclose any expert concerning their damages or identified any
                                          27   damages concerning their copyright claims, such as lost time in the market, in their
                                               amended initial disclosures. Supp. Ball Decl. ¶ 5 and ¶ 7, Ex. 4. Defendants’ business
                                          28   partner also affirms that takedowns were used for marketing. Id. ¶ 4, Ex. 2. The Court,

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   7               Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 14 of 18 Page ID #:3405




                                           1           Finally, Defendants’ argument that they can show standing by way of statutory
                                           2 harm is meritless. “Congress’ role in identifying and elevating intangible harms does
                                           3 not mean that a plaintiff automatically satisfies the injury-in-fact requirement
                                           4 whenever a statute grants a person a statutory right and purports to authorize that
                                           5 person to sue to vindicate that right. Article III standing requires a concrete injury
                                           6 even in the context of a statutory violation.” Spokeo, Inc. v. Robins, 578 U.S. 330, 341
                                           7 (2016), as revised (May 24, 2016).              Defendants offer no evidence of any harm
                                           8 resulting from their counterfeit collection being briefly “taken off the internet” and
                                           9 which they admitted was the “best thing that could have happened.” Opp. at 10; ECF
                                          10 89-9. And while Defendants opine that Section 512(f) is an exception, they provide
                                          11 no authority for their argument.
                                                                              9


                                          12           F.      Defendants Admit They Only Pled One DMCA Takedown With
                                                               Particularity And Could Not Plead Any Other
F ENWICK & W EST LLP




                                          13
                       ATTORNEYS AT LAW




                                                       Defendants admit they pled only the Foundation Takedown with particularity.
                                          14
                                               See Opp. at 12 n.6. Any other takedown they summarily allege does not survive the
                                          15
                                               Rule 9(b) pleading standard (or even the Rule 8 standard). See Mot. at 21–22; Flores
                                          16
                                               v. Popova, No. CV 19-1379, 2019 WL 4238886, at *3 (C.D. Cal. Aug. 7, 2019)
                                          17
                                               (granting motion to dismiss under Rule 9(b) standard because “Plaintiff has provided
                                          18
                                               no specific information as to the who, what, when, where, or how of the
                                          19
                                               alleged fraud.”); Alvarez v. Bayer US, Inc., No. CV 21-5416, 2021 WL 8742153, at *5
                                          20
                                               (C.D. Cal. Dec. 15, 2021) (similar).
                                          21
                                                       Even so, Defendants admit that the legal basis for the other takedowns they
                                          22
                                               cursorily reference was trademark infringement and that Yuga Labs did not allege
                                          23
                                          24 in its discretion may consider evidence submitted on reply that does not go to “new”
                                             arguments, but rather pertains to the original Rule 12(b)(1) argument. See Pistor v.
                                          25 Garcia, 791 F.3d 1104, 1111-1112 (9th Cir. 2015).
                                             9
                                               Defendants cite to Lenz v. Universal Music Corp., 815 F.3d 1145, 1157 (9th Cir.
                                          26 2016). Particulars of the holding aside, the Supreme Court’s subsequent ruling in
                                             Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016) is controlling. Defendants also cite
                                          27 to Robins v. Spokeo, Inc., 867 F.3d 1108 (9th Cir. 2017) without further analysis. That
                                             holding is easily distinguished because the Court found standing based on specific and
                                          28 concrete risks of imminent harm. Id. at 1117.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS     8               Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 15 of 18 Page ID #:3406




                                           1 copyright infringement in those takedowns. Opp. at 8 (claiming that Yuga Labs’
                                           2 other takedowns “attempt[] to improperly leverage the power of the DMCA for non-
                                           3 copyright claims”). This is fatal because trademark takedowns do not give rise to a
                                           4 Section 512(f) claim. Mot. at 19. Moreover, except as to the Foundation Takedown,
                                           5 Defendants do not even argue that any platform removed content by relying on an
                                           6 alleged misrepresentation of copyright by Yuga Labs.
                                           7           Defendants also falsely state that “Yuga did not raise pleading with particularity
                                           8 during the parties’ Local Rule 7-3 conference of counsel, as the parties’ subsequent
                                           9 Joint Statement confirms.” Opp. at 11. In fact, that very Joint Statement states
                                          10 “Plaintiff’s counsel notified Defendants’ counsel that Plaintiff would move to dismiss
                                          11 Defendants’ counterclaims under Rules 12(b)(1), 12(b)(6), 9(b) of the Federal Rules
                                          12 of Civil Procedure, and California’s Anti-SLAPP law.” ECF 78 (emphasis added); see
F ENWICK & W EST LLP




                                          13 also Supp. Ball Decl. at Ex. 1.
                                                                             10
                       ATTORNEYS AT LAW




                                          14           G.      Defendants Concede Yuga Labs Had a Good Faith Belief That
                                                               Their Use Of Yuga Labs’ Logo Infringed Yuga Labs’ Copyright
                                          15
                                                       The Foundation Takedown shows that Defendants copied Yuga Labs’ logo.
                                          16
                                               ECF 89-5, 89-6, 89-7. It is uncontroversial that a logo can be protected as both a
                                          17
                                               copyright and a trademark. Vigil v. Walt Disney Co., Nos. C-95-1790, C-95-1277,
                                          18
                                               1995 WL 621832 (N.D. Cal. Oct. 16, 1995); Starbucks Corp. v. Heller, No. CV 14-
                                          19
                                               01383, 2014 WL 6685662 (C.D. Cal. Nov. 26, 2014). By not addressing the logo,
                                          20
                                               Defendants concede that Yuga Labs had a good faith belief in its ownership of a
                                          21
                                               copyright for the logo and that they failed to allege a 512(f) violation for the
                                          22
                                               Foundation Takedown. 11 See L.R. 7-9.
                                          23
                                                Defendants elected not to amend their pleading as a matter of right within the period
                                               10
                                          24 permitted by Fed. R. Civ. P. 15. Combined with their refusal to amend their
                                             counterclaims to cure the Rule 9(b) defects, the Court can infer that Defendants did
                                          25 not believe these defects were curable. See Standing Order (ECF 14) at 8–9.
                                             11
                                                 Yuga Labs also has a good faith belief that it owns a copyright in the Bored Ape
                                          26 images.   Although Defendants do not seem to understand the legal difference between
                                             a
                                          27 seecopyright and a copyright registration (Opp. at 4), Yuga Labs does. Id.; ECF 96-4;
                                                      also      https://ipandmedialaw.fkks.com/post/102i6pp/reflections-on-baycs-
                                          28 revolutionary-nft-license   (“Of course Yuga owns the copyright in their artwork.)

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   9                Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 16 of 18 Page ID #:3407




                                           1           H.      Defendants Admit They Seek An Advisory Opinion On Whether
                                                               Yuga Labs Owns Any Copyrights, Which Article III Prohibits
                                           2
                                                       Defendants’ attempt to conflate copyrights with a copyright registration does
                                           3
                                               not save their claim. They admit that Yuga Labs cannot presently sue Defendants for
                                           4
                                               copyright infringement, which is fatal. Opp. at 15–16. 12 Though they argue that Yuga
                                           5
                                               Labs could obtain a copyright registration, that kind of speculation leads to precisely
                                           6
                                               the type of advisory opinion prohibited by Article III. See Mot. at 23–24. Indeed, any
                                           7
                                               person could draft a complaint and file suit within “five working days” (Opp. at 16);
                                           8
                                               this hypothetical risk has no limitation and is not the type of “impending litigation”
                                           9
                                               required to seek declaratory judgment. Mot. at 23.
                                          10
                                                       Moreover, although Defendants argue that they have “good reason to believe”
                                          11
                                               that Yuga Labs will “use” the DMCA “unless a court definitively settles their right to
                                          12
                                               any copyright” (Opp. at 15), they reference a list of takedowns they admit did not occur
F ENWICK & W EST LLP




                                          13
                       ATTORNEYS AT LAW




                                               within the last eight months. Id. at 12-13. Even if any of those other takedowns were
                                          14
                                               made on the basis of copyright (they were not), Defendants point to no “real and
                                          15
                                               immediate” “actual” controversy. MGA Ent., Inc. v. Louis Vuitton Malletier, S.A., No.
                                          16
                                               2:18-CV-10758, 2019 WL 2109643, at *4 (C.D. Cal. May 14, 2019). Furthermore,
                                          17
                                               Defendants do not introduce any jurisdictional evidence of these takedowns to meet
                                          18
                                               their burden of showing that Yuga Labs was using a claim of copyright infringement
                                          19
                                               to support a takedown (because it was not). 13 There is no prohibition on Yuga Labs
                                          20
                                               using the Lanham Act to support a takedown request. Defendants offer no other
                                          21
                                               argument, and obviously no evidence, that there is any imminent controversy that the
                                          22
                                          23 (emphasis  in original).
                                             12
                                                Moreover, Defendants’ discussion of Cal. Furniture Collection, Inc. v. Harris
                                          24 Adamson Home, LLC, No. 19-cv-006254, 2019 WL 7882081 (C.D. Cal. Oct. 18, 2019)
                                             and Sky Billiards, Inc. v. WolVol, Inc, No. 5:15-cv-02182, 2016 WL 7479428 (C.D.
                                          25 Cal. July 11, 2016) is inaccurate and misleading. These courts were expressly
                                             addressing the issue of a parties that did not have a copyright registration.
                                          26 13 The reason is obvious—regardless of the form the platform required Yuga Labs to
                                             use to request a takedown, Yuga Labs stated that the basis for the takedown was that
                                          27 “the RR/BAYC project used [Yuga Labs’] trademarks.” Opp. at 12. Defendants also
                                             do not offer any evidence that these takedowns were successful or, if they were, that
                                          28 Defendants expended time or money to respond.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   10              Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 17 of 18 Page ID #:3408




                                           1 Court needs to resolve. Presumably, every party that has sought an advisory opinion
                                           2 believed it would serve a “useful purpose” (Opp. at 15) to them, but Defendants’ belief
                                           3 that an advisory opinion would benefit them does not exempt them from the full
                                           4 requirements of Article III.
                                           5           Moreover, although Yuga Labs has pursued and obtained relief in other courts
                                           6 on its theory that the RR/BAYC NFTs infringe its trademarks, it has not pursued a
                                           7 copyright claim there either. See, e.g., Consent Judgment, Yuga Labs, Inc. v. Thomas
                                           8 Lehman, 1:23-cv-00085-MAD-TWD (Feb. 6, 2022) (ECF 12). Therefore, consistent
                                           9 with its lawsuit against Defendants, Yuga Labs has been and is pursuing its trademark
                                          10 claims in federal court.
                                          11           I.      Defendants Have Not Moved for an Untimely Amendment.
                                          12           Defendants make several references that they should be “allowed” an amendment
F ENWICK & W EST LLP




                                          13 in case Yuga Labs’ Motion to Strike is granted. Opp. at 19, 23. Defendants have not
                       ATTORNEYS AT LAW




                                          14 formally sought leave for an amendment, which fails to satisfy the requirements of the
                                          15 Scheduling Order and the Standing Order to amended pleadings. ECF 57 at 8; ECF 14
                                          16 at 12 (listing requirements for amended pleadings).
                                          17           Regardless, any amendment would be futile. 14 With respect to the IIED/NIED
                                          18 claims, amendment would be futile because, among several reasons, the alleged conduct
                                          19 still could not approach the required “extreme and outrageous” standard or the
                                          20 necessary quantum of emotional distress. As to the copyright claims, amendment is
                                          21 futile because Yuga Labs does not have a copyright registration, has not threatened
                                          22 Defendants with a copyright lawsuit, and issued only one takedown based on copyright
                                          23 infringement where it is undisputed Yuga Labs owns the copyright and for which
                                          24 Defendants cannot plead harm.
                                          25           J.      Yuga Labs’ Motion Was Timely Filed
                                          26           Yuga Labs first filed this Motion on January 16, 2023. ECF 86. That filing was
                                          27
                                               A redline of Defendants’ proposed changes to the Counterclaims, which show the
                                               14
                                          28 futility of the proposed amendments, is filed herewith. Supp. Ball Decl. ¶ 6, Ex. 3.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS   11             Case No. 2:22-cv-04355-JFW-JEM
                            Case 2:22-cv-04355-JFW-JEM Document 97 Filed 02/13/23 Page 18 of 18 Page ID #:3409




                                           1 made one day early. ECF 65. Yuga Labs filed on this date because February 20 is a
                                           2 federal holiday; filing on the due date of January 17 would require setting a hearing
                                           3 date of February 13 (contrary to L.R. 6-1) or February 27 (contrary to the Court’s
                                           4 Standing Order (ECF 14)). Yuga Labs understood that a filing on January 16 would
                                           5 be treated as filed that day. Supp. Ball Decl. ¶ 8. The Court struck the motion for
                                                                                                15


                                           6 “insufficient time.” ECF 88. Understanding this order to direct Yuga Labs to notice
                                           7 a new hearing date, it refiled the identical motion a few hours later.
                                           8           Defendants’ request for an extraordinary remedy of a summary denial is
                                           9 unwarranted. First, Yuga Labs’ Motion filed with a new hearing date relates back to
                                          10 the timely, original filing. Second, defenses under Rules 12(b)(1) and 12(b)(6) cannot
                                          11 be waived. See Fed. R. Civ. P. 12(h). Finally, Defendants have not been prejudiced;
                                          12 they had an extra 14 days to file their opposition.
F ENWICK & W EST LLP




                                          13           If the Court nonetheless finds the Motion untimely, Yuga Labs respectfully
                       ATTORNEYS AT LAW




                                          14 requests that the Court exercise its discretion to adjudicate the motion, especially given
                                          15 the Catch-22 situation regarding an appropriate hearing date and Yuga Labs’ reasonable
                                          16 efforts to abide by the Court’s directives. See, e.g., In re Yahoo! Litig., 251 F.R.D. 459,
                                          17 464 (C.D. Cal. 2008).
                                          18 III.      CONCLUSION
                                          19           The Court should strike or dismiss each counterclaim, with prejudice, and award
                                          20 mandatory attorneys’ fees as required under the anti-SLAPP statute.
                                          21 Dated: February 13, 2023                        FENWICK & WEST LLP
                                          22
                                          23                                                 By:    /s/ Eric Ball
                                                                                                 Eric Ball
                                          24                                                 Attorneys for Plaintiff and
                                                                                             Counterclaim Defendant
                                          25                                                 YUGA LABS, INC.
                                          26
                                               Yuga Labs then calculated that there was sufficient time for the motion to be heard
                                               15
                                          27 in 28 days. The applicable rules do not exclude federal holidays from counting the
                                             time until a hearing unless the last day of the period is a holiday. Fed. R. Civ. P.
                                          28 6(a)(1), and February 13 is 28 days after January 16. See L.R. 6-1.

                                               YUGA LABS’ REPLY ISO SPECIAL MTN TO STRIKE
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS         12              Case No. 2:22-cv-04355-JFW-JEM
